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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                    No. 4:13CR00068-05 JLH

DERRICK ANTHONY RHODES
     a/k/a "3D"

                         PRELIMINARY ORDER OF FORFEITURE

        IT IS HEREBY ORDERED THAT:

        1.      As the result of the November 8, 2013, guilty plea of Derrick Anthony Rhodes

("Defendant"), Defendant shall forfeit to the United States, under 21 U.S.C. § 853, 18 U.S.C. §

924(d), and 28 U.S.C. § 2461(c), one Smith and Wesson, model15, .38-caliber revolver, bearing

serial number 1K49069, and all ammunition. ("property subject to forfeiture").

        2.      Upon the entry of this Order, the United States Attorney General (or a designee)

is authorized to seize the above-listed property and to conduct any discovery proper in

identifying, locating or disposing of the property subject to forfeiture, in accordance with Federal

Rule of Criminal Procedure 32.2(b)(3).       Further, the United States Attorney General (or a

designee) is authorized to commence any applicable proceeding to comply with statutes

governing third party rights, including giving notice of this Order.

        3.      The United States shall publish notice of this Order and the United States' intent

to dispose of the property subject to forfeiture in such a manner as the United States Attorney

General (or a designee) may direct. The United States may also, to the extent practicable,

provide written notice to any person known to have an alleged interest in the property subject to

forfeiture.

        4.      Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his
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or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §

853(n)(2). This petition must be filed within 30 days of the final publication of notice or receipt

of notice, whichever is earlier. /d.

       5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the

time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

CrimP. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

       6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner's acquisition of the right, title or interest in the property

subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

        7.      Mter the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

        8.      The United States shall have clear title to the property subject to forfeiture

following the Court's disposition of all third-party interests, or, if none, following the expiration

of the period provided for the filing of third party petitions.

        9.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).
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SO ORDERED this   ~ day of April, 2014.



                                UNITED STATES DISTRICT JUDGE
